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UN|TED STATES D|STR|CT COURT rates ::r~,' _, [YL D,C_

Western District of Tennessee
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UNiTED STATES OF AMER|CA '~ ll \, iii fur
Plaimiff, CLCF="§,` y iCOUiil
lite {_»1 _i lPHiS
VS. Case Number: 2:030Fl20005-B
KYLE BLACK
Defendant.

JUDGMENT AND COMM|TMENT ORDER

ON SUPERV|SED RELEASE VIOLAT|ON
(For Offenses Committed On or After November 1, 1987)

The defendant, Ky|e B|ack, was represented by Les|ie Ba||in, Esq.

lt appearing that the defendant, who was convicted on January 29, 2004 in the above styled
cause and was placed on Supervised Ftelease for a period of two (2) years, has violated the terms of
Supervised Fle|ease.

lt is hereby OFlDERED and ADJUDGED that the Supervised Flelease of the defendant be revoked
and that the defendant be committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of four (4) months. The Court recommends that the defendant be housed as close
to Memphis, Tennessee, as possibie.

FURTHERMORE, no further term of Supervised Re|ease will follow said period of incarceration.
Current terms and conditions of supervision will remain in effect until defendant reports for custody.

The defendant is allowed to remain released on present bond.

Signed this the § §$day of Ju|y, 2005.

 

. DA lEL BREEN \
uNrr D sTATEs DrsTl=ncT JuDeE

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: §/2/1984

U.S. Marshal No.: 18795-076

Defendant's Mai|in Address: 6233 Soiwa Mem his TN 38119

 

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RICT COURT- WHESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 239 in
ease 2:03-CR-20005 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

